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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 15-Civ-23425-COOKE/TORRES

   LESLIE REILLY, an individual,
   on behalf of herself and all others
   similarly situated,

          Plaintiff,

   vs.

   CHIPOTLE MEXICAN GRILL, INC.,
   a Delaware corporation,

         Defendant.
   __________________________________________/
                                   ORDER AFTER HEARING
          BEFORE ME are, inter alia: (1) Defendant Chipotle Mexican Grill, Inc.’s Motion for
   Summary Judgment (ECF No. 58); and (2) Plaintiff Leslie Reilly’s Motion for Class
   Certification (ECF No. 66).
          I have reviewed the parties’ motions, the record, the relevant legal authorities, and
   the arguments made by the parties at the Motion Hearing on November 16, 2016.
          For the reasons stated at the Motion Hearing, it is hereby ORDERED and
   ADJUDGED as follows:
              1. Defendant Chipotle Mexican Grill, Inc.’s Motion for Summary Judgment
                  (ECF No. 58) is GRANTED.
              2. Plaintiff Leslie Reilly’s Motion for Class Certification (ECF No. 66) is
                  DENIED.
              3. All other pending motions, if any, are DENIED as moot.
              4. Plaintiff’s Complaint is DISMISSED with prejudice.
              5. The Clerk shall CLOSE this case.
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   DONE and ORDERED in Chambers, in Miami, Florida, this 17th day of November 2016.




   Copies furnished to:
   Edwin G. Torres, U.S. Magistrate Judge
   Counsel of Record
